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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


                                                                          MDL 2724
IN RE: GENERIC PHARMACEUTICALS                                           16-MD-2724
PRICING ANTITRUST LITIGATION
                                                          ORAL ARGUMENT REQUESTED



This document relates to:

State of Connecticut et al. v. Aurobindo Pharma          No. 2:17-cv-03768 (CMR) (E.D. Pa.)
USA, Inc., et al.                                        No. 3:16-cv-02056 (VLB) (D. Conn.)

State of Connecticut et al. v. Teva Pharmaceuticals      No. 2:19-cv-02407 (CMR) (E.D. Pa.)
USA, Inc., et al.                                        No. 3:19-cv-00710 (MPS) (D. Conn.)

State of Connecticut et al. v. Sandoz, Inc., et al.      No. 2:20-cv-03539 (CMR) (E.D. Pa.)
                                                         No. 3:20-cv-00802 (SRU) (D. Conn.)


      RESPONSE IN OPPOSITION TO THE STATES’ MOTION TO REMAND




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                                        INTRODUCTION

       This MDL spans over 50 actions by five categories of plaintiffs (including three putative

classes), over 50 defendants, and over 200 drugs. These cases implicate complex issues of antitrust

law and economics involving the generic pharmaceutical industry. Since joining this MDL in

2017, the States have taken the lead in directing the litigation, and the MDL’s fact discovery and

bellwether process have centered on their three complaints. For seven years, the District Court

has expended significant judicial resources organizing and managing this MDL efficiently and

productively. It has ruled on at least 40 motions to dismiss, overseen the months-long bellwether

selection process, established leadership committees, appointed three Special Masters, and issued

over 200 pretrial orders, many relating to processes for streamlining the MDL. And at the States’

request, the District Court structured the MDL’s bellwether process around one of their complaints.

       Despite all that, the States now seek to remand their actions to the District of Connecticut

before pretrial proceedings are concluded so they can pursue them in a separate venue. The States

rely solely on the Panel’s decision in In re Google Digital Advert. Antitrust Litig., MDL No. 3010,

2023 WL 3828612 (J.P.M.L. June 5, 2023). Their argument fails for three reasons.

       First, the States have waived any venue rights they may have had and thus cannot now

seek to remand. The Venue Act became law in December 2022; the States in Google moved for

remand in February 2023; and this Panel remanded Google in June 2023. But in this MDL, the

States did not move for remand until November 1, 2023. Since the Venue Act became law, they

have continued to vigorously prosecute and direct this MDL, producing hundreds of thousands of

documents, participating in at least 75 depositions, and briefing multiple issues. Because the States

sat on their rights for nearly a year while continuing to litigate their claims in the MDL, they cannot

now fairly argue that venue for remaining pretrial proceedings does not lie in the Eastern District




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of Pennsylvania—an outcome that would throw this MDL into chaos and require Defendants to

litigate the same allegations and legal claims in multiple fora.

           Second, the Panel should decline to apply Google on the merits because Third Circuit

precedent—which, unlike in Google, would apply to appellate review here—expressly recognizes

that retroactive intent must be determined by evaluating all tools of statutory interpretation,

including “legislative history.” Scheidemann v. I.N.S., 83 F.3d 1517, 1521 (3d Cir. 1996). The

Google order did not consider legislative history in determining whether the Venue Act applies

retroactively or solely prospectively. The full analysis mandated in the Third Circuit demonstrates

that the Venue Act does not retroactively apply to this MDL.

           Third, if the States’ interpretation of the Venue Act were correct, the most natural reading

of the Act would deprive the Panel of its remand authority, which derives solely from §1407(a),

and not any inherent authority. Indeed, the Google Panel acknowledged that applying the Venue

Act to pending MDLs “potentially could be construed as eliminating our subsection (a) remand

authority” over such actions. 2023 WL 3828612 at *3. This absurd result further underscores why

the Venue Act cannot reasonably be interpreted to apply to pending cases.

                                               BACKGROUND

1. The Panel Transfers the State Actions to MDL 2724.

           This MDL began in August 2016, when the Panel centralized ten pending actions in the

Eastern District of Pennsylvania. ECF No. 1. 1 Since then, the size and complexity of the MDL

has ballooned, largely due to actions brought by the States:

•     Heritage Action. In August 2017, the Panel transferred to the Eastern District of Pennsylvania
      the claims of 40 States brought in the District of Connecticut for coordinated or consolidated
      pretrial proceedings. ECF No. 417; Compl., Connecticut v. Aurobindo Pharma USA, Inc.,
      No. 3:16-cv-2056-VLB (D. Conn. Dec. 15, 2016), ECF No. 1. Four additional States that

1
    Unless otherwise noted, all docket citations are to the E.D.Pa. docket for MDL No. 2724, 2:16-md-02724-CMR.


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    never filed claims in the District of Connecticut were later added as putative plaintiffs in the
    Eastern District of Pennsylvania. 2 States’ Consolidated Am. Compl., Connecticut v. Actavis
    Holdco U.S., Inc., No. 2:17-cv-3768-CMR (E.D. Pa. June 18, 2018), ECF No. 15. The States
    added 14 additional Defendants in the Heritage Action in the Eastern District of Pennsylvania,
    but did not name them as Defendants in the Heritage Action in the District of Connecticut. 3
    See id.

•   Teva Action. In May 2019, the Panel transferred to the Eastern District of Pennsylvania a new
    complaint filed in the District of Connecticut by 44 States. ECF No. 1011; Compl.,
    Connecticut v. Teva Pharms. USA, Inc., No. 3:19-cv-00710-MPS (D. Conn. May 10, 2019),
    ECF No. 1. The States did not object. See Mem. of Law in Support of the States’ Motion to
    Remand (“States’ Memo”) at 2. Nine additional States that never filed claims in the District
    of Connecticut were later added as putative plaintiffs in the Eastern District of Pennsylvania. 4
    Am. Compl., Connecticut v. Teva Pharms. USA, Inc., No. 2:19-cv-02407 (E.D. Pa. Nov. 1,
    2019), ECF No. 106. The States added two additional Defendants in the Teva Action in the
    Eastern District of Pennsylvania but did not name them as Defendants in the Teva Action in
    the District of Connecticut. 5 See id.

•   Dermatology Action. In July 2020, the Panel transferred to the Eastern District of
    Pennsylvania yet another complaint filed in the District of Connecticut, this time by 51 States.
    ECF No. 1452; Compl., Connecticut v. Sandoz, Inc., No. 3:20-cv-00802-SRU (D. Conn. June
    10, 2020), ECF No. 1. The States again did not object. See States’ Memo at 2. California was
    later added as a putative plaintiff in the Eastern District of Pennsylvania, but never filed claims
    in the District of Connecticut. Am. Compl., Connecticut v. Sandoz, Inc., No. 2:20-cv-03539
    (E.D. Pa. Sept. 9, 2021), ECF No. 62. 6

        All three of these cases (collectively, the “State Actions”) have transformed the landscape

of the MDL. The Amended Heritage Complaint was the first in the MDL to allege an industry-

wide overarching conspiracy. As for the Teva and Dermatology Actions, they significantly

expanded the number of drugs at issue, with the Teva Action implicating 114 drugs and the

Dermatology Action implicating 80 drugs. This tactic expanded the scope of allegations and


2
  Alaska, Puerto Rico, Rhode Island, and Wyoming. For simplicity, “States” includes Plaintiff States and Territories.
3
  Ascend Laboratories, LLC, Emcure Pharmaceuticals, Ltd., Rajiv Malik, Satish Mehta, Actavis Holdco U.S., Inc.,
Actavis Pharma, Inc., Apotex Corp., Dr. Reddy’s Laboratories, Inc., Glenmark Pharmaceuticals, Inc., Lannett
Company, Inc., Par Pharmaceutical Companies, Inc., Sandoz, Inc., Sun Pharmaceutical Industries, Inc., and Zydus
Pharmaceuticals (USA) Inc.
4
  American Samoa, Arkansas, the District of Columbia, Georgia, Guam, New Hampshire, the Northern Mariana
Islands, South Dakota, and Wyoming.
5
  Robin Hatosy and Amneal Pharmaceuticals LLC.
6
  Alabama, American Samoa, Arkansas, Guam, and Hawaii have since voluntarily dismissed their claims from all
relevant actions.


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prompted the filing of over 36 copycat complaints and complaint amendments alleging an

“overarching conspiracy,” most of which cite to one or more of the complaints in the State Actions.

See App’x VI. Not only are the States’ Actions complex, but they have also had an outsized impact

on the MDL and increased the litigation’s size, scope, and intricacy.

2. The District Court Expends Significant Resources as the States Take the Lead.

       The District Court has diligently managed this MDL since its inception. For example, to

create a workable structure and impose order on the discovery process for the hundreds of drugs

at issue, the District Court created a tiered discovery schedule based on when a drug was added to

the MDL, ensuring that early plaintiffs were not prejudiced by late filers. ECF No. 1135. And in

2018, after the MDL expanded, the District Court appointed three Special Masters to streamline

discovery and non-dispositive disputes and assist in managing legal issues affecting the efficient

progression of the MDL. ECF No. 667. The District Court has also ruled on at least 40 motions

to dismiss (see, e.g., ECF Nos. 722, 858, 2084), dozens of discovery disputes (see, e.g., ECF

No. 2215), and the contentious bellwether selection and scheduling process (see, e.g., ECF Nos.

1442, 1687, 1769, 1901).       And the District Court has dedicated significant resources to

understanding the highly complex pharmaceutical industry, including holding a “tutorial” where

the parties had an opportunity to educate the Court and the Special Masters on these issues. See

ECF No. 2237.

       The State Actions have been at the center of the MDL. The District Court selected

bellwethers to cover two tracks—an overarching conspiracy and single-drug conspiracies. ECF

No. 1442 at 5. The District Court originally selected the States’ Teva Action as the bellwether

complaint for the overarching conspiracy allegations, but, upon reconsideration—and urging by

the States—selected the Dermatology Action instead. ECF No. 1702. The Dermatology Action




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has been at the forefront of the MDL ever since. 7

        The States have also been at the center of discovery in the MDL. For example, initial

document discovery involved hundreds of thousands of documents previously produced to the

States during their investigations. See, e.g., ECF No. 841. Discovery to date has focused on the

bellwether cases, including the Dermatology Action. The States and their agencies have taken the

lead or participated in at least 80 depositions. While the deadline for bellwether fact discovery

passed on October 2, 2023, there are still 38 State depositions outstanding, expert discovery is

ongoing, and so is non-bellwether discovery, including for the Heritage and Teva Actions.

3. Congress Passes the Venue Act, But the States Continue to Move the MDL Forward.

        On December 29, 2022, President Biden signed into law a Consolidated Appropriations

Bill that includes the Venue Act. It amends 28 U.S.C. § 1407(g) to add the words “or a State” as

follows: “Nothing in this section shall apply to any action in which the United States or a State is

a complainant arising under the antitrust laws.” 28 U.S.C. §1407(g); see also Consolidated

Appropriations Act, 2023, Pub. L. No. 117-328, Div. gg, Title III, § 301, 136 Stat. 4459, 5970. 8

While prior versions of the bill included a retroactive effective date, the Act as passed did not.

Compare S. 1787, 117th Cong. (as introduced, May 24, 2021), and H.R. 3460, 117th Cong. (as

introduced May 21, 2021), with 168 Cong. Rec. S2935-36 (daily ed. June 14, 2022) (whose

purpose was “to strike the retroactive effective date,” per the Congressional record), and 168 Cong.

Rec. H8252-53 (daily ed. Sept 29, 2022).

        In the 11 months since the Venue Act became law, the MDL parties—including the

States—have continued to expend considerable resources litigating the States’ cases, particularly


7
  Although dozens of motions to dismiss are pending, the District Court prioritized bellwether motions, ruling on 12
of 13 motions to dismiss in the Dermatology Action. E.g., No. 2:20-cv-03539-CMR, ECF Nos. 113-125, 248. The
District Court has not yet ruled on the multiple motions to dismiss in the Heritage and Teva Actions. See App’x V.A.
8
  All emphases are added.


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the bellwether Dermatology Action. The States have actively participated in both affirmative and

defensive discovery during this period. For example, the States and their relevant agencies have

sat for 69 depositions since the Venue Act was passed, and at least 38 state depositions are

scheduled for the near future, have been requested but not yet scheduled, or are pending resolution

of other disputes. See App’x II. The States have led some of the most significant depositions

during this period, including those of cooperating witnesses, see App’x III, and have litigated

dozens of discovery disputes, see App’x I. The States have also engaged in dozens of meet-and-

confers with Defendants regarding a number of topics, and have continued to make document

productions. See, e.g., App’x IV. Only on November 1, 2023, after all of this activity, did the

States move for remand to the District of Connecticut. Even after that, the States have continued

to actively litigate their claims in the MDL. See, e.g., App’x VII.

                                          ARGUMENT

       The Panel should deny the States’ motion to remand for three independent reasons: (1) the

States have waived their venue rights by their continuing and significant participation in this MDL

well after the Venue Act’s enactment; (2) the Venue Act is not retroactive and thus does not apply

to the State Actions; and (3) interpreting the Venue Act to apply to pending cases would yield the

absurd result of eliminating the Panel’s authority to remand the already-transferred State Actions.

I.     THE STATES HAVE WAIVED ANY RIGHT TO SEEK REMAND.

       A. The States Did Not Timely Raise a Venue Objection and Continued to Litigate.

       In Google, the Panel held that “the recent amendment to Section 1407(g) applies to pending

state antitrust enforcement actions and, absent a state’s waiver of its venue rights, the Panel must

grant the motion for remand.” 2023 WL 3828612, at *2. An objection to venue must be raised

timely and sufficiently. Section 1406(b) provides that “[n]othing in this chapter,” which includes




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§ 1407, “shall impair the jurisdiction of a district court of any matter involving a party who does

not interpose timely and sufficient objection to the venue.” 28 U.S.C. § 1406(b).

       As the Supreme Court has explained, “[v]enue, largely a matter of litigational convenience,

is waived if not timely raised.” Wachovia Bank, N.A. v. Schmidt, 546 U.S. 303, 316 (2006). Venue

“may be lost by failure to assert it seasonably, by formal submission in a cause, or by submission

through conduct.” Freeman v. Bee Mach. Co., 319 U.S. 448, 453 (1943). A litigant waives a

venue objection when it “performs some act which indicates to the court that he elects not to raise

his privilege of venue.” Davis v. Smith, 253 F.2d 286, 288 (3d Cir. 1958).

       Setting aside the States that never brought their claims in the District of Connecticut and

thus do not even have rights under the Venue Act in the first place, see infra at 11, the remaining

States have waived any venue argument. First, the States have demonstrated their satisfaction with

the Eastern District of Pennsylvania. While the States objected to the Panel’s transfer of the

Heritage Action to the MDL, they did not object to the transfer of the Teva or Dermatology

Actions. See supra at 2-3. The States also previously offered to waive their rights under

Lexecon v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 40 (1998), and remain in the

Eastern District of Pennsylvania through trial, even suggesting they would seek a transfer back to

that court if the case were remanded. See Transcript (July 9, 2020), ECF No. 1465 at 26:15–27:8.

       Second, by waiting ten months after passage of the Venue Act before moving to remand,

the States failed to “timely” and “seasonably” object to the venue; furthermore, by actively

litigating their Actions during this period, they engaged in “submission through conduct” to venue

in the Eastern District of Pennsylvania. Freeman, 319 U.S. at 453; see also, e.g., Davis, 253 F.2d

at 288-89 (designating a process agent constituted a “voluntary act [that] subjected the [party] to

suit because it unequivocally demonstrated waiver of the venue privilege”); First Bank Bus. Cap.,




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Inc. v. Agriprocessors, Inc., 602 F. Supp. 2d 1076, 1093 (N.D. Iowa 2009) (venue waived by

waiting six weeks to challenge and participating in receivership proceedings and stipulating to an

order). Even when controlling law on venue changes, an objection to venue may still be waived

by delay. See, e.g., Intellectual Ventures II LLC v. FedEx Corp., 2017 WL 5630023, at *3 (E.D.

Tex. Nov. 22, 2017) (denying motion where defendant waited more than two months after the

Supreme Court rendered its decision in TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 581

U.S. 258 (2017) regarding venue to seek dismissal and had “continued actively litigating this

case”). 9 Among other things, the States’ prominent participation in discovery, see supra at 4-6, is

flatly inconsistent with their current challenge to venue. See Spearman v. Sterling S.S. Co., 171 F.

Supp. 287, 289 (E.D. Pa. 1959) (waiver where defendant had taken plaintiff’s deposition and

waited more than a year to challenge venue); Fairhope Fabrics, Inc. v. Mohawk Carpet Mills, Inc.,

140 F. Supp. 313, 316 (D. Mass. 1956) (venue waiver where defendant “availed itself of the power

of discovery … by taking depositions, and maintaining the entire conduct of the proceedings”);

Fort Wayne Corrugated Paper Co. v. Anchor Hocking Glass Corp., 31 F. Supp. 403, 406 (W.D.

Pa. 1940) (venue waiver where motion was made five months after the complaint was filed, after

motion to quash service was made, and depositions had been conducted).

         That the States have waived their venue argument is reinforced by the significant resources

the District Court has devoted to administering the State Actions within the MDL and the

substantial prejudice that Defendants would incur in litigating the State Actions elsewhere. Given




9
  See also Red Carpet Studios v. Midwest Trading Grp., Inc., 2018 WL 4300544, at *2 (S.D. Ohio Sept. 10, 2018)
(venue objection forfeited where defendants waited for six months after TC Heartland); Akeso Health Scis., LLC v.
Designs for Health, Inc., 2018 WL 2558420, at *3 (C.D. Cal. Jan. 25, 2018) (similar); Kaist IP US LLC v. Samsung
Elecs. Co., 2017 WL 7058227, at *2 (E.D. Tex. Dec. 18, 2017) (“Here, even after TC Heartland, Defendants waited
four and five months to raise their venue challenges with the Court, at a time when the Court and the parties were
investing great effort in the proceedings. Granting such untimely motions at this stage of the proceeding would disrupt
the efficiency of the judicial process, both here and in the proposed transferee district.”).


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the scope, complexity, and shape that the MDL has taken—driven in large part by the State

Actions—it “would undermine judicial efficiency to allow [the States] to challenge venue now.”

First Bank, 602 F. Supp. 2d at 1093–94. Furthermore, “[c]ourts have found prejudice to be a

relevant consideration in determining whether waiver by implication has occurred.” Mantissa

Corp. v. Ondot Sys., Inc., 267 F. Supp. 3d 918, 923 (S.D. Tex. 2017) (citations omitted). Here,

remanding would substantially prejudice Defendants by exposing them to duplicative discovery

and the expense of litigating in multiple fora. Non-bellwether fact discovery, including in the

States’ Heritage and Teva Actions, is ongoing. For many non-bellwether defendants, depositions

have only just begun, or not started at all. And even bellwether fact discovery, which formally

closed in October 2023, is continuing as to certain States and third parties. Between ongoing

discovery and many pending motions, there is a real risk of “duplicative discovery, inconsistent

pretrial rulings, and conflicting discovery obligations”—exactly what the Panel sought to avoid

when it transferred the State Actions to the Eastern District of Pennsylvania. ECF No. 417. This

provides further confirmation that the State Actions should remain there. 10

         At bottom, the States have “waived any challenge to venue … through their conduct

actively litigating this case” since December 29, 2022. Koninklijke Philips N.V. v. ASUSTeK

Comput. Inc., 2017 WL 3055517, at *3 (D. Del. July 19, 2017). Through their words and actions,

the States have indicated that they were “content with the venue” of the MDL and are therefore

estopped from challenging venue. Viscofan USA, Inc. v. Flint Grp., 2009 WL 1285529, at *4

(C.D. Ill. May 7, 2009); see also Alaska Airlines v. United States, 399 F. Supp. 906, 910 (N.D.


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  Given these risks, and as the Venue Act “does not impede antitrust defendants from seeking to transfer a case to a
more convenient forum under the federal change-of-venue statute,” H.R. Rep. No. 117-494, at 3 (2022), Defendants
would have strong arguments for the State Actions to be transferred back to the Eastern District of Pennsylvania after
remand “[f]or the convenience of parties and witnesses, in the interest of justice.” 28 U.S.C. § 1404(a). Remanding
the State Actions only for them to be transferred back to the Eastern District of Pennsylvania would be inefficient,
waste judicial resources, and cause unnecessary delays.


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Cal. 1975) (venue waived where party “entered into stipulations and made many appearances, in

none of which [it made] any objection to venue”). Given the States’ conduct over the last several

years, and particularly in the 11 months following passage of the Venue Act, their motion must be

denied on this ground alone.

          B. This MDL Is Not Comparable to Google.

          While the States filed a motion to remand in Google fewer than two months after passage

of the Venue Act, here the States waited over ten months and continued to fully participate in this

MDL, making it a clear-cut case of waiver. Given the advanced stage of this MDL, the procedural

complications that would result from remanding are far greater here than in Google. Whereas the

States’ case in Google had been transferred to the MDL only two years before the motion to

remand, the States here have been proceeding before the District Court for more than six years.

And while there were no pending motions to dismiss in Google, see MDL 3010, ECF No. 71-1

at 2, here, there are over 20 motions to dismiss pending in the State Actions (and 40 already

decided). See App’x V.A. Further, unlike Google, this MDL has an established bellwether

process, with one bellwether, the Dermatology Action, selected at the States’ urging. See supra

at 4-5.

          Additionally, while discovery in Google was “in its infancy” and depositions had not

started when the motion to remand was filed, MDL 3010, ECF No. 71-1 at 2, discovery is far more

advanced here. Bellwether fact discovery is nearly at its end, non-bellwether discovery is ongoing,

and hundreds of depositions have taken place, with hundreds more likely to be scheduled. Multiple

discovery disputes are still pending. See App’x V.B. Expert discovery for the bellwether cases is

ongoing. See App’x VII. These pending motions and ongoing discovery will create a morass of

procedural uncertainty and potentially inconsistent rulings if the State Actions are remanded, a

problem this Panel did not face in Google.


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       The procedural difficulties are also more complex in this case because certain of the States’

claims were brought, and certain Defendants were sued, only in the Eastern District of

Pennsylvania and not in the District of Connecticut. See supra at 2-3. Yet, under 28 U.S.C.

§ 1407(a), the JPML may transfer “pending” civil actions to another district “for coordinated or

consolidated pretrial proceedings,” so long as “[e]ach action … shall be remanded by the [JPML]

at or before the conclusion of such pretrial proceedings to the district from which it was

transferred.” 28 U.S.C. § 1407(a). Because several States’ claims were not “pending” in any

court when the States added their claims to their amended complaints, and because several

Defendants have never been added to the actions in the District of Connecticut, there is no district

from which certain States’ claims or Defendants were transferred, and thus no court to which they

can be remanded. See, e.g., In re Air Crash Disaster in Ionian Sea on September 8, 1974, 438 F.

Supp. 932, 933 (J.P.M.L. 1977) (explaining that “the Panel can only remand those claims to the

… transferor court”); In re Delta Airlines, Inc., Flight Attendant Weight Standards Litig., 411 F.

Supp. 795, 797 (J.P.M.L. 1976) (noting that “the Panel’s power of remand is restricted to

remanding actions … to transferor districts from which an action was transferred under Section

1407”). This complexity was not present in Google, where the plaintiffs and defendant were

identical in the transferor and transferee courts. See Civil Action No. 1:21-md-03010 (S.D.N.Y.),

ECF No. 541; Civil Action No. 4:20-cv-957 (E.D. Tex.), ECF Nos. 138, 139. The significant

procedural difficulties here are a direct result of the States’ own conduct, confirming that they have

waived their opportunity to seek remand.

II.    THE VENUE ACT DOES NOT APPLY RETROACTIVELY.

       Even if the States preserved their venue challenge, the States’ motion fails because the

Venue Act does not apply to the State Actions, which were transferred before the Venue Act’s

passage. Although the Panel held in Google that the Venue Act has retroactive effect under


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Landgraf v. USI Film Prods., 511 U.S. 244 (1994), that reasoning does not comport with the Third

Circuit’s interpretation of Landgraf, which will apply to appellate review of a remand grant here.

See 28 U.S.C. § 1407(e); In re Wilson, 451 F.3d 161, 168-71 (3d Cir. 2006) (citing Third Circuit

law). Applying Landgraf as construed by the Third Circuit demonstrates that the States cannot

employ the Venue Act to seek remand of their claims.

       As the Panel correctly recognized in Google, “Landgraf explained that there is a long-

established ‘presumption against retroactive legislation’ based on fairness considerations and the

‘principle that the legal effect of conduct should ordinarily be assessed under the law that existed

when the conduct took place.’” Google, 2023 WL 3828612, at *2. That presumption dates back

more than a century to a case in which the Supreme Court held that a statute should not be

construed to apply retrospectively “unless the words used are so clear, strong, and imperative that

no other meaning can be annexed to them, or unless the intention of the legislature cannot be

otherwise satisfied.” U.S. Fid. & Guar. Co. v. United States, 209 U.S. 306, 314 (1908). The

Supreme Court has continued to reaffirm that longstanding principle in cases after Landgraf, see,

e.g., Lindh v. Murphy, 521 U.S. 320, 325 (1997) (explaining that Landgraf “reaffirmed” the

“presumption against retroactivity” and explained that retroactive application must “be supported

by a clear statement”), as has the Third Circuit, see Mathews v. Kidder, Peabody & Co., 161 F.3d

156, 170 (3d Cir. 1998) (“[I]f Congress seeks to … reach[] back in time to upset settled

expectations, it must do so unequivocally and in a way that assures … that it has seriously

considered the consequences of such action.”).

       The Supreme Court in Landgraf established a two-part test for determining whether a new

federal statute has retroactive effect: “whether Congress has expressly prescribed the statute’s

proper reach,” and if not, whether the new statute would have retroactive effect. Landgraf, 511




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U.S. at 280. The Third Circuit has held that post-Landgraf precedent “reforms the two-part

analysis” by adding “an additional threshold question before we move to the question of whether

the statute has a retroactive effect.” Mathews, 161 F.3d at 160 (citing Lindh, 521 U.S. at 326).

The Third Circuit’s approach is as follows:

       First, we ask the same threshold question: did Congress expressly prescribe the
       statute’s temporal reach? Of course, if the answer to this question is ‘yes,’ then we
       follow Congress’s express prescription and apply the statute accordingly.
       However, if the answer is ‘no,’ then we ask another threshold question before
       moving to the ‘retroactive effect’ inquiry—do the normal rules of statutory
       construction apply in such a way as to remove the possibility of retroactivity?

Id. The Third Circuit added that a “negative inference” or “legislative history” may sufficiently

“express[] an intent” to apply a statute prospectively only. Id. at 163. Thus, in the Third Circuit,

“a court may determine congressional intent from the statutory text, by necessary implication from

the statute taken as a whole, or from the statute’s legislative history.” Scheidemann 83 F.3d

at 1521; see also Lindh, 521 U.S. at 324 (rejecting the suggestion that “whenever a new statute on

its face could apply to the litigation of events that occurred before it was enacted, there are only

two alternative sources of rules to determine its ultimate temporal reach: either an ‘express

command’ from Congress or application of our Landgraf default rule”).

       Because the Google MDL arose in the Second Circuit, the Panel did not apply Third Circuit

precedent requiring consideration of all tools of statutory construction in evaluating congressional

intent. Instead, the Google Panel asked only whether “the statute contain[s] an express command

as to its retroactive application.” 2023 WL 3828612, at *2. Here, an analysis consistent with

Supreme Court and Third Circuit law, using all canons of statutory construction, reveals that the

Venue Act does not apply retroactively and thus cannot be used to remand the State Actions.

       To start, the plain language of the Venue Act says nothing about retroactive application.

Instead, it states, in relevant part, “[n]othing in this section shall apply to any action in which the



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United States or a State is a complainant arising under the antitrust laws.” 28 U.S.C. § 1407(g).

That does not end the analysis, however.          The Panel must exhaust the “normal rules of

construction,” Lindh, 521 U.S. at 326, including, as the Third Circuit has instructed, the Venue

Act’s “legislative history,” Scheidemann, 83 F.3d at 1521. The language that Congress deleted

from the draft Venue Act before passage is thus highly relevant. “Few principles of statutory

construction are more compelling than the proposition that Congress does not intend sub silentio

to enact statutory language that it has earlier discarded in favor of other language.” I.N.S. v.

Cardoza-Fonseca, 480 U.S. 421, 442-3 (1987); see also Doe v. Chao, 540 U.S. 614, 622-623

(2004) (rejecting interpretation of Privacy Act that would allow presumed damages when

“Congress cut out the very language in the bill that would have authorized” such damages).

       Congress repeatedly considered—and deleted—language stating that the Venue Act

applies to cases pending on the date of the Act’s enactment. As initially introduced in both the

House and the Senate, the Venue Act included a provision that would have made the law

retroactive. The proposed bill included a section stating, “[t]his Act and the amendments made by

this Act, shall take effect on June 1, 2021,” a date that was a year prior to the bill’s introduction.

S. 1787, 117th Cong. (as introduced, May 24, 2021); H.R. 3460, 117th Cong. (as introduced

May 21, 2021). But in both chambers, after it was reported out of committee, the bill was revised

to strike that section and remove the retroactive effective date. 168 Cong. Rec. S2935-36 (daily

ed. June 14, 2022); 168 Cong. Rec. H8253 (daily ed. Sept 29, 2022). The bill’s originally proposed

language was thus changed to read, as follows:

       SECTION 1. Short Title.
              This Act may be cited as the “State Antitrust Enforcement Venue Act of
              2021”.
       SEC. 2. AMENDMENTS.
              Section 1407 of title 28 of the United States Code is amended—
              (1) in subsection (g) by inserting “or a State” after “United States”, and



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              (2) by striking subsection (h).
       SEC. 3. EFFECTIVE DATE
              This Act and the amendments made by this Act, shall take effect on June 1,
              2021.

Comparing S. 1787, 117th Cong. (as introduced, May 24, 2021), with S. 1787, 117th Cong. (as

passed the Senate, June 14, 2022). The Congressional Record leaves little doubt about the

“[p]urpose” of this amendment, describing it as: “[t]o strike the retroactive effective date.” 168

Cong. Rec. S2935-36 (daily ed. June 14, 2022). The revised version of the bill—without the

retroactive effective date—was passed by both Houses. Id.

       The Venue Act was then incorporated into the Consolidated Appropriations Act. The

version that appeared in that Act included a provision that said, “[t]he amendments made by

subsection (a) shall apply to any matter pending on, or filed on or after, the date of enactment of

this Act,” 168 Cong. Rec. S7752 (daily ed. Dec. 19, 2022), which again would have provided that

the Act was retroactive. That language had not appeared in any other version of the bill. Congress

caught the error and amended the Act to remove the language that would have made it retroactively

applicable. Specifically, the amendment struck the language as reflected below:

       SEC. 301. VENUE FOR STATE ANTITRUST ENFORCEMENT.
             Section 1407 of title 28, United State Code, is amended—
                    (a)     (1) in subsection (g) by inserting “or a State” after “United
                            States” … .
                            (2) by striking subsection (h).
                    (b) APPLICABILITY.—The amendments made by subsection (a)
                    shall apply to any matter pending on, or filed on or after, the date
                    of enactment of this Act.

Comparing 168 Cong. Rec. S7752 (daily ed. Dec. 19, 2022), with 168 Cong. Rec. S10007 (daily

ed. Dec. 21, 2022). Both the Senate and the House subsequently passed the Consolidated

Appropriations Act of 2023, as amended—i.e., without the Venue Act having any language stating




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that it applied retroactively. 168 Cong. Rec. S10077 (daily ed. Dec. 22, 2022); 168 Cong. Rec.

H10475, H10528 (daily ed. Dec. 23, 2022).

       In Google, the Panel found this drafting history minimally useful because the “Supreme

Court in Landgraf cautioned against relying on the deletion of a retroactivity provision.” 2023

WL 3828612, at *3. But the Supreme Court has repeatedly considered deleted retroactivity

provisions as indicia of congressional intent. It did so in Rivers v. Roadway Express, Inc., 511

U.S. 298, 308-309 (1994), Landgraf’s companion case, and then again in Hamdan v. Rumsfeld,

548 U.S. 557, 579-80 (2006), where the Court explained that “Congress’ rejection of the very

language that would have achieved the result the Government urges here weighs heavily against

the Government’s interpretation.” Given these cases, the Panel’s conclusion that drafting history

is not a legitimate tool for evaluating congressional intent is untenable, and inconsistent with

governing Third Circuit law. See Scheidemann, 83 F.3d at 1521.

       Contrary to the Panel’s conclusion in Google, Landgraf did not hold that courts are barred

from considering Congress’s rejection of retroactivity provisions as evidence of congressional

intent. Instead, Landgraf held that the rejected provisions in that case were weak evidence of

congressional intent because multiple equally plausible inferences could be drawn. The prior

version of the statute at issue contained a “special provision for reopening final judgments” as well

as “provisions covering pending cases.” Landgraf, 511 U.S. at 256 n.9. The President vetoed the

bill, and it was unclear whether his disapproval referred only to the provision for reopening final

judgments or also to the provisions covering pending cases. Id. The Court explained that

Congress may have settled “on a less expansive form of retroactivity that, unlike the [prior] bill,

did not reach cases already finally decided.” Id. at 256. There is no comparable ambiguity here.

       A proper construction of the Venue Act per Landgraf and Third Circuit precedent shows




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that “the normal rules of statutory construction apply in such a way as to remove the possibility of

retroactivity.” Mathews, 161 F.3d at 160.       Had Congress wanted the Venue Act to apply

retroactively, it would have left in one of the provisions that did so. It would not have three times

deleted a provision explicitly establishing retroactivity.       There is no clear evidence of

congressional intent for the statute to apply retroactively, and the States have not offered a

plausible explanation for why Congress would have thrice deleted retroactivity provisions had

Congress somehow intended the Venue Act to apply retroactively.

       Nonetheless, even if the Panel proceeds to the second step of Landgraf, retroactivity does

not follow. While the Panel in Google concluded that the Venue Act is “plainly a procedural rule”

and thus it applies to “pre-enactment pending cases,” 2023 WL 3828612, at *2-3, “the mere fact

that a new rule is procedural does not mean that it applies to every pending case.” Landgraf, 511

U.S. at 275 n.29; accord Martin v. Hadix, 527 U.S. 343, 359 (1999). As the Third Circuit has

observed, “concerns about retroactivity are nonetheless applicable to procedural rules.” Steven I.

v. Central Bucks School Dist., 618 F.3d 411, 414 n.7 (3d Cir. 2010).

       Landgraf itself made clear that a procedural change should not require the unraveling of

what has already happened. See id. at 275 n.29 (“A new rule concerning the filing of complaints

would not govern an action in which the complaint had already been properly filed under the old

regime, and the promulgation of a new rule of evidence would not require an appellate remand for

a new trial.”); accord id., 511 U.S. at 291 (Scalia, J., concurring in the judgment). Just as a rule

governing the “filing of complaints would not govern an action in which the complaint had already

been properly filed under the old regime,” id., at 275 n.29, the Venue Act does not govern the

States’ claims here because they have already been transferred to the MDL.

       The Third Circuit has elaborated on the circumstances in which a procedural statute will




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raise retroactivity concerns. “[P]rocedural rules are subject to the presumption against retroactivity

in a case in which the procedures affected have already transpired.” Mathews, 161 F.3d at 161

n.8. In applying Landgraf, the Third Circuit has recognized that while “rules of procedure regulate

secondary … conduct,” such as “the filing of a suit,” their retroactive application may still be

unfair. See Steven I., 618 F.3d at 414 n.7. Instead, the proper question is whether “the secondary

conduct governed by the statute” occurred before the statute’s effective date. Id.

       This is a quintessential case where “the procedures affected have already transpired,”

Mathews, 161 F.3d at 161 n.8, and “the secondary conduct governed by” the Venue Act happened

long before the statute’s enactment, Steven I, 618 F.3d at 414 n.7. The relevant conduct the Venue

Act regulates is the centralization of claims brought by States in an MDL. Unlike Google, here,

centralization happened more than six years before the Venue Act became law. Unwinding

centralization would be a retroactive application of the statute barred by the presumption against

retroactivity, which is true in the Third Circuit even if the Venue Act is labeled “procedural.”

       Ex Parte Collett, 337 U.S. 55 (1949), and United States v. Nat’l City Lines, Inc., 337 U.S.

78 (1949), two decisions that long pre-date Landgraf, are distinguishable. See Google, 2023 WL

3828612, at *2-3. In both cases, the Supreme Court held that the newly enacted § 1404, which

permits forum non conveniens transfers, could be applied to pending cases without raising

retroactivity concerns. But the reasoning of these cases does not extend here. The application of

the new statute in those cases did not undo any prior judicial act; instead, it changed the judicial

forum that would preside over the cases prospectively. By contrast, applying the Venue Act here

requires unwinding MDL transfers that have already happened—and that have resulted in

hundreds of acts and decisions by the parties and the Eastern District of Pennsylvania.

       Third Circuit precedent strongly supports this distinction. Like Collett and National City




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Lines, the Third Circuit in Schoen v. Mountain Producers Corp., 170 F.2d 707, 714 (3d Cir. 1948),

considered whether to apply the newly enacted § 1404 to a pending case. It concluded that

Congress “made its intention clear that the procedural provisions” at issue “were to apply to all

actions pending on September 1st as well as to all those commenced thereafter.” Id. The Third

Circuit then observed: “Of course, as to pending actions these new procedural provisions are

applicable only to the extent that they relate to procedural steps which had not been taken in those

actions prior to September 1st.” Id. The Third Circuit applied the new statute only because “relief

upon the ground of forum non conveniens has not as yet been either granted or denied by the district

court.” Id. In sharp contrast, the relevant procedural step—transfer of all three actions to the

MDL—has already occurred here. Under the Third Circuit’s reasoning in Schoen, the Venue Act

cannot be applied to undo an MDL centralization that occurred years ago.

III.   THE STATES’ INTERPRETATION OF THE VENUE ACT LEADS TO ABSURD
       RESULTS.

       If the Panel adheres to its determination in Google that the Venue Act applies even where

the Panel’s transfers preceded the Venue Act’s passage, then the most natural reading of the Venue

Act would deprive the Panel of authority to remand the States’ claims to their transferor court. As

amended by the Venue Act, 28 U.S.C. §1407(g) provides: “Nothing in this section shall apply to

any action in which … a State is a complainant arising under the antitrust laws.” 28 U.S.C.

§1407(g). Under the most natural reading of that statutory language, “[n]othing” in §1407 “shall

apply” to the State Actions. That includes all of the powers that §1407(a) grants to the Panel,

including the power to “remand[]” transferred actions to the transferor court.

       In its Google order, the Panel acknowledged that “Section 1407(g), as amended, potentially

could be construed as eliminating” its remand authority. 2023 WL 3828612 at *3. The Panel

rejected that proposition because the Venue Act “is intended to allow state antitrust actions to



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proceed in the action’s original forum,” so interpreting §1407(g) “to eliminate the possibility of

remand to that forum yields an absurd result that is the exact opposite of the statute’s purpose.”

Id. The Panel also believed that it had “inherent power” to remand “actions transferred to an MDL

that no longer belong there.” Id.

        The Venue Act’s purpose alone cannot override the clear statutory text providing that

“[n]othing” in §1407 “shall apply,” including the Panel’s remand authority. See Parker v.

NutriSystem, Inc., 620 F.3d 274, 277 (3d Cir. 2010) (“Where the statutory language is

unambiguous, the court should not consider statutory purpose[.]”). The States cannot have it both

ways, claiming that the Venue Act eliminates the ability of this Panel to have transferred their

actions under §1407(a), but that it does not eliminate the ability of this Panel to remand those

transferred actions. Nor can the Panel resort to an “inherent authority” to remand, for “the exercise

of an inherent power cannot be contrary to any express grant of or limitation on the … power

contained in a rule or statute,” as §1407(g) contains. Dietz v. Bouldin, 579 U.S. 40, 45 (2016).

        The proper means of avoiding an absurd result is to interpret the Venue Act not to apply to

pending cases, 11 as “interpretations of a statute which would produce absurd results are to be

avoided if alternative interpretations consistent with the legislative purpose are available.” Vooys

v. Bentley, 901 F.3d 172, 192 (3d Cir. 2018). Avoiding the absurd result recognized by the Google

Panel is another compelling reason to conclude that the Venue Act does not apply to pending cases.

                                                CONCLUSION

        For the above reasons, Defendants respectfully request that the Panel deny the States’

motion to remand.



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  This scenario only arises in MDLs with antitrust actions brought by States pending when the Venue Act was passed,
which describes all of two MDLs: Google and this one. All other antitrust actions brought by States will proceed in
their original forum—precisely because all of §1407 will not apply, including the Panel’s transfer and remand powers.


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Dated: November 29, 2023



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